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July 16, 2020

Honorable Nancy Joseph, Magistrate Judge
United States Federal Court (E.D., Wis.)
517 E. Wisconsin Ave.,
Milwaukee, WI 53202

       Re:      Dragonwood Conservancy, Inc., et. al., v. Felician, et. al.
                Case No. 16-CV-534
                *status – Plaintiffs’ Response to Defendants’ “Rule 702” and related motions

Dear Magistrate Joseph:

        I represent Plaintiffs in this case, and am in receipt of the Defendants’ “Rule 702” and
related motions (E-Doc 95 etc, filed 7/13/20); and now, I have received Defendant’s “7(h)
Emergency Motion for Stay” (doc. 98 etc) filed on 7/15/20.

        I look forward to providing the Court with a full and fair record, relative to Defendants’
motions in these regards. Suffice it to say, I disagree with Counsel’s modeling of the record,
particularly any ‘emergency’ designation. May it please the Court, I will file my response to the
Defendant’s 7(h) Motion within seven days as required by local rule.

       However, as to my response to Defendants’ “r702” and related motions, I will be out of
town the week of July 26, 2020 (and deposing Defendants’ proffered ‘expert’ on Friday July 24,
2020). My schedule in this regard has been made known to Counsel for some time now.

        Accordingly, I will endeavor to file a formal response to Defendants “Rule 702” and
related motions before I leave town on July 26, 2020. However, now that I have to file a
separate response to the 7(h) motion first, it is very likely that I would require the entire 21 days
per LR 7(c), to respond to Defendants’ “r702” and related motions, i.e., my response would be
due within 21 days: on or before Monday, August 3, 2020, may it please the Court.

       I just received the Court’s email about a Motion Hearing on August 4. Thank you.

       Very Truly Yours,
       /s/ Mark P. Murphy
       Attorney Mark P. Murphy
       Plaintiffs’ Attorney


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